       Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.



                            No. 3D23-0117
                     Lower Tribunal No. F18-12613C



                          Neisser F. Lezcano,
                                  Appellant,

                                     vs.

                          The State of Florida,
                                  Appellee.



      An Appeal from the Circuit Court for Miami-Dade County, Marisa
Tinkler Mendez, Judge.

      Carlos J. Martinez, Public Defender, and Deborah Prager, Assistant
Public Defender, for appellant.

      Ashley Moody, Attorney General, and Christina L. Dominguez,
Assistant Attorney General, for appellee.


Before LOGUE, C.J., and FERNANDEZ and GORDO, JJ.

     PER CURIAM.
      Affirmed. See Duest v. State, 462 So. 2d 446, 449 (Fla. 1985) (“The

law is well established that admission of photographic evidence is within the

trial court's discretion and that a court's ruling will not be disturbed on appeal

unless there is a showing of clear abuse.”).




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